
25 N.Y.2d 905 (1969)
Louis L. Friedman, Respondent,
v.
State of New York, Appellant. (Claim No. 44913.)
Court of Appeals of the State of New York.
Submitted September 2, 1969.
Decided September 25, 1969.
Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding thereto the following: Upon the appeal herein there were presented and necessarily passed upon questions under the Constitution of the United States, viz.: Whether the rights of claimant under the First, Fifth, Sixth and Fourteenth Amendments were denied. The Court of Appeals held that there was no denial of claimant's constitutional rights. (See 24 N Y 2d 528.)
